       Case 1:18-cv-03443-AT-RGV Document 8 Filed 10/01/18 Page 1 of 4



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 KEN JOSEPH,
                   Plaintiff,                  CIVIL ACTION
           v.                                  NO. 1:18-cv-03443-AT-RGV
 EXPERIAN INFORMATION
 SOLUTIONS, INC., et al.,
                   Defendants.

                                       ORDER

      On August 3, 2018, the Court granted pro se plaintiff Ken Joseph’s (“plaintiff”),

application to proceed in forma pauperis, but, due to deficiencies with his complaint,

the Court also ordered him to replead his complaint within fourteen days. See [Doc.

2]. Plaintiff failed to replead his complaint within fourteen days, and on August 22,

2018, the Court recommended that his complaint be dismissed without prejudice for

failure to obey the Court’s August 3, 2018, Order and for failure to state a claim. See

[Doc. 4]. Plaintiff subsequently filed an amended complaint against defendants

Experian Information Solutions, Inc., Trans Union LLC, Equifax, Inc., and Equifax

Information Services, LLC, collectively referred to as “defendants,” on August 27,

2018. [Doc. 6]. On September 14, 2018, the Honorable Amy Totenberg, United States

District Judge, declined to adopt the Report and Recommendation, ruling that since

plaintiff “is proceeding pro se and his late filing was de minimus, the Court [would]

allow his filing to be considered this time.” [Doc. 7 at 2 (emphasis omitted)]. Judge
       Case 1:18-cv-03443-AT-RGV Document 8 Filed 10/01/18 Page 2 of 4



Totenberg referred this matter back to the undersigned for consideration of

plaintiff’s amended complaint. [Id.]. Based on the allegations of plaintiff’s amended

complaint, the Court does not find that the instant action is entirely frivolous or

malicious. See Neitzke v. Williams, 490 U.S. 319, 324 (1989). Therefore, this action

shall be allowed to proceed as any other civil action as to plaintiff’s claims against

defendants.

      The Clerk is hereby DIRECTED to send plaintiff the USM 285 forms,

summonses, and initial disclosures forms. Plaintiff is DIRECTED to complete the

USM 285 forms, summonses, and initial disclosures forms, and to return one for

each of the defendants named in the complaint within twenty (20) days from the

entry date of this Order, to the Clerk of Court. Plaintiff is warned that the failure to

comply could result in the dismissal of this action. The Clerk is DIRECTED to

resubmit this action to the undersigned if plaintiff fails to comply.

      Upon receipt of the forms by the Clerk, the Clerk is DIRECTED to prepare a

service waiver package for each of the named defendants. The service waiver

package must include two (2) copies of the Notice of Lawsuit and Request for

Waiver of Service of Summons (prepared by the Clerk), two (2) copies of the Waiver

of Service of Summons forms (prepared by the Clerk), an envelope addressed to the

Clerk of Court with adequate first class postage for use by each of the defendants for

return of the waiver form, one (1) copy of the complaint, one (1) copy of the initial

                                           2
       Case 1:18-cv-03443-AT-RGV Document 8 Filed 10/01/18 Page 3 of 4



disclosures form, and one (1) copy of this Order. The Clerk shall retain the USM 285

forms and the summons(es).

      Upon completion of the service of waiver packages, the Clerk is DIRECTED

to complete the lower portion of the Notice of Lawsuit and Request for Waiver

forms and to mail the service waiver packages to each of the named defendants.

Defendants have a duty to avoid unnecessary costs of serving the summons. If any

of the defendants fail to comply with the request for waiver of service, that

defendant must bear the costs of personal service unless good cause can be shown

for failure to return the Waiver of Service form.

      In the event that any of the defendants do not return the Waiver of Service

form to the Clerk of Court within thirty-five (35) days following the date on which

the service waiver package was mailed, the Clerk is DIRECTED to prepare and

transmit to the U.S. Marshals Service a service package for that defendant. The

service package must include the USM 285 form, the summons, and one (1) copy of

the complaint. Upon receipt of the service package, the U.S. Marshals Service is

DIRECTED to personally serve that defendant. The executed waiver form or the

completed USM 285 form shall be filed with the Clerk.

      Plaintiff is DIRECTED to serve upon each of the defendants or defendants’

counsel a copy of every additional pleading or other document which is filed with



                                         3
       Case 1:18-cv-03443-AT-RGV Document 8 Filed 10/01/18 Page 4 of 4



the Clerk of Court. Each pleading or other document filed with the Clerk shall

include a certificate stating the date on which an accurate copy of that paper was

mailed to the defendants or defendants’ counsel. This Court shall disregard any

submitted papers which have not been properly filed with the Clerk or which do not

include a certificate of service.

      Plaintiff is also REQUIRED to KEEP the Court and the defendants advised

of his current address at all times during the pendency of this action. Plaintiff is

admonished that the failure to do so will result in the dismissal of this action.

      IT IS SO ORDERED and DIRECTED, this 1st day of October, 2018.




                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




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